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    Ryder Ripps and Jeremy Cahen
 14
 15
 16                         UNITED STATES DISTRICT COURT
 17                       CENTRAL DISTRICT OF CALIFORNIA
 18                                WESTERN DIVISION
 19 Yuga Labs, Inc.,                               Case No.: 2:22-cv-4355-JFW-JEM
 20                Plaintiff and Counterclaim DISCOVERY MATTER
                   Defendant,
 21                                           LOCAL RULE 37 JOINT
          v.                                  STIPULATION RE DEFENDANTS
 22                                           RYDER RIPPS AND JEREMY
    Ryder Ripps, Jeremy Cahen,                CAHEN’S MOTION TO COMPEL
 23
                   Defendants and             Magistrate Judge: Hon. John E. McDermott
 24                Counterclaim Plaintiffs.   Motion Hearing Date: March 28, 2023
                                                   Motion Hearing Time: 10:00 AM
 25                                                Discovery Cutoff Date: April 3, 2023
                                                   Pre-Trial Conference Date: June 9, 2023
 26                                                Trial Date: June 27, 2023
 27
 28


      STIPULATION REGARDING MOTION TO
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      STIPULATION REGARDING MOTION TO
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 22
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 24
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 26
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  1
            This Joint Stipulation is submitted by Defendants and Counterclaim Plaintiffs
  2
      Ryder Ripps (“Mr. Ripps”) and Jeremy Cahen (“Mr. Cahen”) and Plaintiff and
  3
      Counterclaim Defendant Yuga Labs, Inc. (“Yuga” or “Yuga Labs”) pursuant to
  4
      Local Rule 37-2 in connection with Mr. Ripps and Mr. Cahen’s motion to compel
  5
      production of Lehman’s settlement agreement and related communications. The
  6
      parties conferred regarding the production of these materials on February 21, 2023,
  7
      and Defendants served their portion of this stipulation later that same day. The
  8
      Court’s order establishing the case schedule is attached as Exhibit 1 to the
  9
      Declaration of Derek Gosma. Concurrent with the service of this stipulation,
 10
      Defendants filed an ex parte motion to shorten time.
 11
      I.    INTRODUCTORY STATEMENTS
 12
            A.     Mr. Ripps and Mr. Cahen’s Introductory Statement
 13
            Defendants are scheduled to take the deposition of third-party Thomas
 14
      Lehman on March 2, 2023 and intend to ask questions regarding an affidavit that
 15
      was secured through a February 3, 2023, settlement in a case involving trademark
 16
      claims over the same RR/BAYC Project implicated in this litigation. Yuga itself
 17
      has placed that settlement at issue in this case by citing the related affidavit in
 18
      support of its motion to dismiss Mr. Ripps and Mr. Cahen’s counterclaims, and by
 19
      having all three of its experts rely on it in their expert reports. Defendants therefore
 20
      need the settlement agreement and related communications to conduct the
 21
      deposition of Mr. Lehman, but Yuga has refused to provide it, arguing that the
 22
      documents are confidential and irrelevant. Neither argument holds water, since the
 23
      Court has entered a protective order in this case and Yuga has affirmatively relied
 24
      on the affidavit in multiple ways. Accordingly, the Court should order Yuga to
 25
      immediately produce the settlement agreement and related communications.
 26
            Specifically, approximately seven months after Yuga initiated this litigation,
 27
      Yuga filed a related case in the Northern District of New York against Mr. Lehman
 28
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  1
      (Yuga Labs, Inc. v. Thomas Lehman, Case No. 1:23-cv-000850-MAD-TWD),
  2
      alleging trademark infringement claims regarding the RR/BAYC Project. Gosma
  3
      Decl. Ex. 5. On February 3, 2023, Mr. Lehman and Yuga entered into a settlement
  4
      agreement and on February 7, 2023, the N.D.N.Y. case was dismissed. Gosma
  5
      Decl. Ex. 6 at 1. In connection with that settlement, Yuga obtained an affidavit
  6
      from Mr. Lehman making a litany of controversial, out of context, and factually
  7
      incorrect statements. Gosma Decl. Ex. 7. Yuga has since then used the declaration
  8
      in this litigation as evidence, including by relying on the affidavit in three separate
  9
      expert reports (damages, consumer survey, and brand equity). Gosma Decl. ¶ 3.
 10
      Yuga has also relied on Mr. Lehman affidavit in its briefing before this Court,
 11
      including in its reply in support of its motion to dismiss. Dkt. 97, 97-3.
 12
            Defendants asked Yuga to produce the confidential settlement agreement and
 13
      related communications/documents under this Court’s Protective Order the same
 14
      day its existence was made public. The agreement and the communications related
 15
      to it are highly relevant to, for example, the credibility of the statements in the
 16
      affidavit (which Yuga and its experts have now relied on repeatedly). Defendants
 17
      contacted Yuga asking for the production of “all documents related to and
 18
      communications with Mr. Lehman and/or his counsel … regarding the
 19
      settlement[.]” Gosma Decl. Ex. 8 at 11. Defendants made this request under
 20
      Documents Request Nos. 4 (documents regarding relevant lawsuits), 13 (documents
 21
      produced by third parties), and 31 (documents relating to any
 22
      determination/negotiation regarding trademark infringement), all of which plainly
 23
      cover the document. Id. But Yuga refused to produce these materials, stating that
 24
      the settlement “documents are not relevant or proportionate to the needs of this
 25
      case” and are confidential. Gosma Decl. Ex. 8 at 7.
 26
            On February 21, 2023, the parties conferred regarding the production of Mr.
 27
      Lehman’s settlement and related documents. At the conference, Yuga again
 28
      STIPULATION REGARDING MOTION TO
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  1
      refused to produce the materials Defendants requested and instead offered to
  2
      produce only the settlement agreement and not the communications that would
  3
      provide context for the agreement. Gosma Decl. Ex. 8 at 2. Defendants did not
  4
      accept Yuga’s offer because the communications are necessary to adequately test
  5
      the credibility of Mr. Lehman’s affidavit as they including additional information
  6
      on the negotiation process that led to the affidavit and the underlying settlement
  7
      agreement. Id.
  8
  9         B.     Yuga Labs’ Introductory Statement

 10         Defendants have not met their burden to justify the extraordinary discovery
 11 they request through this motion. Defendants do not need settlement
 12 communications between Mr. Lehman and Yuga Labs, or the settlement agreement
 13 itself, to test the truthfulness of Thomas Lehman’s sworn statements about his
 14 participation in Defendants’ business venture. They have always had everything
 15 they need to test his credibility. They have known of Mr. Lehman’s involvement in
 16 their business venture longer than Yuga Labs has, but, nevertheless, Yuga Labs
 17 disclosed him in its October 2022 Initial Disclosures. Mr. Lehman produced
 18 numerous highly relevant documents in response to the subpoena Yuga Labs served
 19 on him in September 2022, including the Team ApeMarket Discord and Team
 20 ApeMarket Telegram chat that Defendants withheld from Yuga Labs until after Mr.
 21 Lehman made his production. These documents — documents that Defendants
 22 knew of longer than Yuga Labs — are contemporaneous records of Defendants’
 23 scam as it unfolded which provide all the evidence needed to support or impeach
 24 the claims in Mr. Lehman’s declaration that Defendants now seek to challenge.
 25         This is not a complicated or “perplexing” dispute. Mr. Lehman was one of
 26 four main participants in Defendants’ “business venture.” Based in part on the
 27 overwhelming evidence of Mr. Lehman’s participation in Defendants’ scam, as
 28
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  1
      demonstrated by the documents he produced, Yuga Labs filed a trademark
  2
      infringement lawsuit against him where he resides. 1 Although Defendants refuse to
  3
      cease marketing their infringing products (ECF 106 at 4:20-23), Mr. Lehman was
  4
      willing to amicably, and confidentially, resolve Yuga Labs’ dispute with him.
  5
      Indeed, the settlement agreement that Yuga Labs and Mr. Lehman negotiated
  6
      expressly includes a bargained-for confidentiality provision. ECF 113-1 at ¶ 6.
  7
      Defendants nonetheless seek these materials not because they are relevant to any
  8
      claim or defense in this case, but on the claimed assumption that they may contain
  9
      evidence implicating the veracity of Mr. Lehman’s sworn statement.
 10
            On February 6, 2023, Yuga Labs obtained a consent judgment against
 11
      Mr. Lehman. Declaration of Ethan M. Thomas (“Thomas Decl.”) Exhibit 1.
 12
      Mr. Lehman signed a declaration on February 3, 2023 (Gosma Decl. Exhibit 7),
 13
      which Yuga Labs produced to Defendants on February 6, 2023. Defendants have
 14
      these documents and can question Mr. Lehman about them.
 15
            On February 7, 2023, Defendants subpoenaed Mr. Lehman (and his attorney)
 16
      for the confidential settlement agreement between Mr. Lehman and Yuga Labs and
 17
      confidential communications relating to the settlement (collectively, the
 18
      “Confidential Settlement Materials”) by February 10, 2023, and commanded him
 19
      to appear for a deposition on February 15, 2023. Thomas Decl. Exhibit 2.
 20
      Mr. Lehman and his counsel objected to these subpoenas. Thomas Decl. Exhibit 3.
 21
      Defendants eventually rescheduled the deposition for March 2, 2023 and twice
 22
      petitioned the Court for emergency orders. ECF Nos. 108, 115.
 23
            Through this Motion, Defendants seek the same documents from Yuga Labs
 24
      that Mr. Lehman also objected to producing. Yuga Labs, likewise, properly made
 25
 26
 27
     At the same time, Yuga Labs also filed suit against Defendants’ other software
      1
 28 developer, Ryan Hickman, where he resides.
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  1
      objections, including as to relevance or proportionality, to Defendants’ discovery
  2
      requests at issue in this Motion. 2
  3
            Defendants do not need the Confidential Settlement Materials. They will
  4
      have the opportunity to ask questions and assess Mr. Lehman’s credibility at the
  5
      (now-rescheduled) deposition, and Yuga Labs has openly stated it does not and will
  6
      not oppose Defendants’ seeking to obtain testimony from Mr. Lehman as to the
  7
      truthfulness of his sworn statements. As noted above, Defendants have, and have
  8
      had for some time, the documents on which Mr. Lehman based his sworn statement.
  9
      If Defendants wish to discredit Mr. Lehman, they already have all the tools they
 10
      need to attempt to do so. Yet, rather than use the instruments already at their
 11
      disposal, Defendants seek to invade upon the legitimate and bargained-for
 12
      expectations of confidentiality that Mr. Lehman and Yuga Labs agreed-to, which, if
 13
      ordered produced, would undoubtedly chill any further settlement discussions in
 14
      this case and Yuga Labs’ other proceedings.
 15
            Defendants’ motion should also fail for other reasons. Defendants
 16
      acknowledge that their motion must clear a high bar of making a “particularized
 17
      and/or heightened” showing that they need the Confidential Settlement Materials,
 18
      but they offer the Court nothing from which to make that finding. Their only basis
 19
      for seeking this discovery is to assess Mr. Lehman’s credibility as a witness — a
 20
      generalized motivation that any party seeking discovery into confidential settlement
 21
      communications would have. While Defendants aver Mr. Lehman’s declaration
 22
      includes a “litany of controversial, out of context, and factually incorrect
 23
      statements,” their multiple filings and correspondences on this issue do not identify
 24
 25
      It is not entirely clear which requests Defendants seek the discovery through as
      2
 26 they have cited different requests in their meet and confer (RFPs 4, 13, and 31) than
    they quote in the joint stipulation (RFPs 4, 13, and 35). That is inconsequential,
 27 because the discovery sought is not relevant to any claim or defense or
    proportionate to the needs of the case, and Defendants fail to make a particularized
 28 showing of their need for the Confidential Settlement Materials.
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  1
      a single such statement. Because Defendants have made virtually no showing of
  2
      any need for this evidence, they certainly fail the “particularized and/or heightened
  3
      showing” requirement. Moreover, none of Defendants’ cases support ordering
  4
      production of the Confidential Settlement Materials under these facts.
  5
             For these reasons, the motion should be denied.
  6
      II.   ISSUES IN DISPUTE
  7
            A.     Document Request Nos. 4, 24, 35
  8
      Document Request No. 4
  9
                   All Documents and Things relating to any lawsuit, judicial
 10
            proceeding, administrative proceeding, U.S. Patent & Trademark Office
 11
            or foreign trademark office proceeding, or arbitration relating to BAYC
 12
            NFTs. This includes, without limitation, all pleadings; applications;
 13
            motions and supporting Documents and exhibits; written discovery
 14
            requests and responses thereto; privilege logs; deposition, trial, hearing,
 15
            or other testimony; deposition, trial, hearing, or other exhibits; expert
 16
            reports and materials; memoranda and points of authorities, including
 17
            all supporting Documents and exhibits; rulings or orders; and all hearing
 18
            transcripts.
 19
      Response to Document Request No. 4
 20
                   Yuga Labs incorporates by reference each of the General
 21
            Objections set forth above as if fully set forth herein. Yuga Labs objects
 22
            to this request as overbroad, not proportionate to the needs of the case,
 23
            and unduly burdensome, including because it requests “[a]ll Documents
 24
            and Things” where a subset of documents would be sufficient, should
 25
            any response be required. Yuga Labs objects to this request to the extent
 26
            it seeks disclosure of information protected by the attorney-client
 27
            privilege, the work product doctrine, or any other applicable privilege.
 28
      STIPULATION REGARDING MOTION TO
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   1
             Yuga Labs objects to this request to the extent it seeks information that
   2
             is subject to any protective order, privacy interest, contractual
   3
             obligation, other confidentiality obligation owed to any third party, or
   4
             competitively sensitive or proprietary financial or business information.
   5
             Yuga Labs objects to the extent that the requested documents are equally
   6
             available to Defendants from other sources that are more convenient,
   7
             less burdensome and/or less expensive, particularly to the extent the
   8
             information sought is publicly available from the U.S. Patent &
   9
             Trademark Office.
  10
                   Subject to and without waiving the foregoing objections, and
  11
             subject to the Protective Order in this Action (ECF No. 51), Yuga Labs
  12
             will produce non-privileged, relevant, responsive documents within its
  13
             possession, custody, or control, if any, located after a reasonable search
  14
             proportional to the needs of the case sufficient to show its United States
  15
             trademark applications for the Asserted Marks.
  16
                   Subject to and without waiving the foregoing objections, after
  17
             conducting a reasonable search proportional to the needs of the case for
  18
             documents within its possession, custody, or control, Yuga Labs
  19
             responds that it has no documents related
  20
             to judicial proceedings, other than this litigation, which Yuga Labs has
  21
             initiated regarding BAYC NFTs.
  22
       Document Request No. 13
  23
                   All Documents produced or made available to Yuga by any non-
  24
             party or Third Party relating to this Litigation.
  25
       Response to Document Request No. 13
  26
                   Yuga Labs incorporates by reference each of the General
  27
             Objections set forth above as if fully set forth herein. Yuga Labs objects
  28
       STIPULATION REGARDING MOTION TO
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   1
             to this request as overbroad, not relevant to any claim or defense and not
   2
             proportionate to the needs of the case as to the use of the term “relating
   3
             to.” Yuga Labs objects to this request to the extent it seeks disclosure of
   4
             information protected by the attorney-client privilege, the work product
   5
             doctrine, or any other applicable privilege. Yuga Labs objects to this
   6
             request to the extent it seeks information that is subject to any protective
   7
             order, privacy interest, contractual obligation, other confidentiality
   8
             obligation owed to any third party, or competitively sensitive or
   9
             proprietary financial or business information.
  10
                   Subject to and without waiving the foregoing objections, and
  11
             subject to the Protective Order in this Action (ECF No. 51), Yuga Labs
  12
             will produce all documents produced to Yuga Labs by third parties or
  13
             non-parties in response to subpoenas in this litigation.
  14
       Document Request No. 35:
  15
                   All Documents relating to any determination, charge, contention,
  16
             notification, negotiation, or assertion that any Person, Entity, logo,
  17
             name, or product, infringes or might infringe any Asserted Mark. This
  18
             includes, without limitation, all Documents relating to any meeting,
  19
             discussion, or Communication with any Person or Entity relating to any
  20
             Asserted Marks.
  21
       Response to Document Request No. 35:
  22
                   Yuga Labs incorporates by reference each of the General
  23
             Objections set forth above as if fully set forth herein. Yuga Labs objects
  24
             to this request as overbroad, not proportionate to the needs of the case,
  25
             and unduly burdensome to the extent it seeks “without limitation”
  26
             documents and communications “relating to any Asserted Marks” in any
  27
             way. Yuga Labs objects to this request as overbroad, not proportionate
  28
       STIPULATION REGARDING MOTION TO
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   1
             to the needs of the case, and unduly burdensome, including because it
   2
             requests “[a]ll Documents” and to the extent it qualifies categories of
   3
             information with the term “any,” where a subset of documents would be
   4
             sufficient, should any response be required. Yuga Labs objects to this
   5
             request to the extent it seeks disclosure of information protected by the
   6
             attorney-client privilege, the work product doctrine, or any other
   7
             applicable privilege. Yuga Labs objects to this request to the extent it
   8
             seeks information that is subject to any protective order, privacy interest,
   9
             contractual obligation, other confidentiality obligation owed to any third
  10
             party, or competitively sensitive or proprietary financial or business
  11
             information.
  12
                    Subject to and without waiving the foregoing objections, and
  13
             subject to the Protective Order in this Action (ECF No. 51), Yuga Labs
  14
             will produce non-privileged, relevant, responsive documents within its
  15
             possession, custody, or control, if any, located after a reasonable search
  16
             proportional to the needs of the case sufficient to show representative
  17
             examples of Yuga Labs’ enforcement of its rights in the Asserted Marks.
  18
                    1.      Mr. Ripps and Mr. Cahen’s Position
  19
             Yuga has taken the perplexing position that their settlement agreement and
  20
       related documents with one of RR/BAYC’s creators is not discoverable because it
  21
       is (1) not relevant and (2) confidential. Yuga’s positions ring hollow considering
  22
       that it repeatedly relies on a controversial affidavit that was secured through Mr.
  23
       Lehman’s settlement (under what conditions, Defendants still do not know). And
  24
       Yuga’s confidentiality concerns are not a valid excuse for withholding highly
  25
       relevant documents especially when considering that the Court has entered a
  26
       Protective Order in this case precisely for this reason. See Gosma Decl. Ex. 2.
  27
  28
       STIPULATION REGARDING MOTION TO
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   1
             As an initial matter, “there is no federal privilege preventing the discovery of
   2
       settlement agreements and related documents.” Bd. Of Trustees of Leland Stanford
   3
       Junior Univ. v. Tyco Int’l Ltd., 253 F.R.D. 521, 523 (C.D. Cal. 2008). Thus,
   4
       confidential settlement agreements must be produced upon a “particularized and/or
   5
       heightened showing that the settlement information sought is relevant and likely to
   6
       lead to admissible evidence.” Peters v. Equifax Info. Servs. LLC, No. 12-cv-01837-
   7
       TJH (OPx), 2013 WL 12169355, at *2 (C.D. Cal. Dec. 13, 2013). Further, the
   8
       entry of a protective order, as there is in this case, “substantially mitigates” privacy
   9
       concerns relating to disclosure of materials relating to a confidential settlement
  10
       agreement. O’Brien v. Johnson & Johnson Medical Devices Co., 19-cv-00619-CJC-
  11
       (SPx), 2020 WL 5215384, at *5 (C.D. Cal. June 24, 2020).
  12
             Defendants’ request for Mr. Lehman’s settlement and related documents and
  13
       communications satisfies these particularized relevance requirements because these
  14
       materials shed light on the credibility of the assertions Mr. Lehman made in his
  15
       February 3, 2023, affidavit. Mr. Lehman’s affidavit includes several controversial
  16
       statements regarding the purpose behind the RR/BAYC NFT Project, how the
  17
       project came about, consumer confusion, trademark infringement risks, and
  18
       Defendants’ promotion of the RR/BAYC NFT Project. Many of these statements
  19
       have been taken out of context or are simply incorrect. Yuga, after securing this
  20
       affidavit through a settlement in the related N.D.N.Y. case, has repeatedly relied on
  21
       the affidavit including in three expert reports and in its motion practice in this
  22
       litigation. Yuga’s systematic dependance on the affidavit confirms its importance
  23
       to this case and that the document’s credibility is a highly relevant issue.
  24
             Paradoxically, Yuga is now claiming that materials relating to Mr. Lehman’s
  25
       settlement agreement, which was finalized on the same day as Mr. Lehman’s
  26
       affidavit, is irrelevant to the contents of the affidavit. Yuga will likely continue to
  27
       use Mr. Lehman’s affidavit, including during summary judgement, and as things
  28
       STIPULATION REGARDING MOTION TO
       COMPEL                                      10                CASE NO. 2:22-CV-04355-JFW-JEM
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   1
       stand Defendants will be unable to use Mr. Lehman’s deposition to properly inquire
   2
       regarding the interplay between his settlement and his affidavit.
   3
             Moreover, Defendants request for settlement materials in a related case
   4
       involving trademark claims regarding the RR/BAYC Project is plainly relevant due
   5
       to significant overlap of issues. Courts in this jurisdiction have routinely required
   6
       production of settlement agreements in similar circumstances. For example, in
   7
       Board of Trustees of Leland Stanford Junior University, the defendant in an IP
   8
       infringement suit moved to compel production of a “settlement agreement … as
   9
       well as the underlying negotiation and drafting documents” that the plaintiff entered
  10
       with another defendant in the case. Bd. of Trustees of Leland Stanford Junior Univ.
  11
       v. Tyco Int'l Ltd., 253 F.R.D. 521, 522 (C.D. Cal. 2008) (emphasis added). The
  12
       court granted the motion in full because (1) “plaintiffs have relied upon and cited
  13
       past settlement agreements to support their claims” and (2) the documents’
  14
       “confidentiality does not shield it from discovery.” Id. And, although there is an
  15
       interest in protecting the confidentiality of settlements, those privacy interests are
  16
       sufficiently protected in cases, like ours, where a protective order has been entered.
  17
       O'Brien, 2020 WL 5215384, at *5.
  18
             Indeed, countless cases can be found requiring the production of settlement
  19
       agreements and related negotiation materials when there is an overlap in issues.
  20
       See, e.g., Fresenius Medical Care Holding Inc. v. Baxter Intern., Inc., 224 F.R.D.
  21
       644, at 654 (N.D. Cal. 2004) (compelling production of “any negotiations,
  22
       agreements, settlements including license agreements, settlement agreements an
  23
       drafts thereof …”); In re Google Litigation, No. C-08-03172-RMW-PSG, 2011 WL
  24
       5190831, at *5-6 (N.D. Cal. Oct. 31, 2011) (compelling production of “[s]ettlement
  25
       agreements or negotiations of settlements”); Phoenix Solutions Inc. v. Wells Fargo
  26
       Bank, N.A., 254 F.R.D. 568, 583 (N.D. Cal. 2008) (compelling production of
  27
       documents relating to “licensing/settlement negotiations”); Lytel v. Simpson, 2006
  28
       STIPULATION REGARDING MOTION TO
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   1
       WL 8459764, at *2 (N.D. Cal. June 23, 2006); In re Banc of California Sec. Litig.,
   2
       2018 WL 1726237, at *1 (C.D. Cal. Apr. 6, 2018).
   3
             Accordingly, for the reasons set forth above, Yuga should be compelled to
   4
       produce the settlement agreement in Yuga Labs, Inc. v. Thomas Lehman, Case No.
   5
       1:23-cv-000850-MAD-TWD and all related communications
   6
                    2.     Yuga Labs’ Position
   7
             This is a straightforward dispute and, as such, the motion to compel should
   8
       be denied. Defendants acknowledge that the applicable case law recognizes the
   9
       extreme sensitivity of discovery into confidential settlement communications and
  10
       therefore requires a “particularized and/or heightened showing that the settlement
  11
       information sought is relevant and likely to lead to admissible evidence.” Peters v.
  12
       Equifax Info. Servs. LLC, No. 12-cv-01837-TJH (OPx), 2013 WL 12169355, at *2
  13
       (C.D. Cal. Dec. 13, 2013). Yet, Defendants do not even attempt to meet this burden
  14
       here, nor could they.
  15
              “Judicial policy favors settlements and confidentiality promotes settlement.”
  16
       Ironhawk Tech. v. Dropbox, No. CV 18-01481-DDP (JEMx), 2019 WL 13032152,
  17
       at *1 (C.D. Cal. Mar. 20, 2019). When weighing one party’s “interest in preserving
  18
       the bargained for confidentiality of its settlement agreement” against the other
  19
       party’s “interest in discovery,” courts regularly find that “expectations of
  20
       confidentiality should be protected.” Id. at *2. As courts in this district have noted,
  21
       “the public policy favoring efficient settlements supports heightened scrutiny
  22
       regarding their production.” Big Baboon Corp. v. Dell, Inc., No. CV 09-01198
  23
       SVW (SSx), 2010 WL 3955831, at *4 (C.D. Cal. Oct. 8, 2010). In light of this
  24
       policy, courts routinely protect confidential settlement materials from discovery.
  25
       See e.g., id.; Peters, 2013 WL 12169355, at *3 (holding settlement agreements with
  26
       co-defendants not discoverable); Contreras v. Kohl’s Dep’t Stores, Inc., No. EDCV
  27
       16-2678-JGB (KKx), 2017 WL 6372646, at *3 (C.D. Cal. Dec. 12, 2017) (refusing
  28
       STIPULATION REGARDING MOTION TO
       COMPEL                                      12              CASE NO. 2:22-CV-04355-JFW-JEM
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   1
       to compel production of settlement agreements because not proportionate to needs
   2
       of case); Hem & Thread, Inc. v. Wholesalefashionsquare.com, 2:19-cv-00283-
   3
       CBM-AFMx, 2020 WL 5044610, at *3 (C.D. Cal. June 16, 2020) (protecting
   4
       settlement negotiations and draft agreements because such disclosures “can have a
   5
       ‘chilling effect’ on negotiations and may intrude into the settlement process.”).
   6
       Furthermore, Defendants have failed to explain why their “need for such
   7
       confidential documents outweighs the privacy interests of the parties who entered
   8
       into them.” Marsh v. Bloomberg Inc, No. 16-cv-02647-MEJ, 2017 WL 2224250, at
   9
       *2 (N.D. Cal. May 22, 2017) (refusing to order the production of confidential
  10
       settlement agreements).
  11
             Based on these authorities and sound public policy favoring settlement,
  12
       Defendants’ request falls far short of the required standard.
  13
  14                       a.    Defendants Have Not Made a Particularized and/or
                                 Heightened Showing That They Need the Confidential
  15                             Settlement Materials

  16         Defendants have offered no basis for the Court to find that they satisfied their
  17 burden to make a “particularized and/or heightened showing” that they need the
  18 Confidential Settlement Materials. Rather than demonstrate why this case is an
  19 exception, Defendants offer the same reasons that any litigant may want discovery
  20 into confidential settlement communications — i.e., generalized speculation that the
  21 materials might reveal credibility issues. Though Defendants aver that
  22 Mr. Lehman’s declaration contains “controversial” statements and some that are
  23 “simply incorrect,” Defendants have tellingly failed to identify a single such issue
  24 in any of their three filings on this topic.
  25         Defendants also cannot meet this heightened standard because they have no
  26 need for the Confidential Settlement Materials even for their articulated purposes.
  27 As Defendants acknowledge, they are scheduled to depose Mr. Lehman. Neither
  28
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   1
       Yuga Labs nor Mr. Lehman has sought to prevent questioning on the lawsuit
   2
       against Mr. Lehman, the disposition of that lawsuit, the settlement agreement, or
   3
       the veracity of Mr. Lehman’s declaration. Defendants will have every opportunity
   4
       to obtain testimony on the supposed inconsistencies or “controversial” statements
   5
       they allege to be in the declaration. They have Mr. Lehman’s document
   6
       production, which Mr. Lehman quotes verbatim in his declaration. They can also
   7
       use any communication they have made with Mr. Lehman to impeach any
   8
       testimony they believe is false. They offer no explanation as to why they need the
   9
       Confidential Settlement Materials to test the truthfulness of a declaration
  10
       indisputably in Defendants’ possession and based on materials produced in
  11
       discovery. 3
  12
             While none of the Confidential Settlement Materials should be produced,
  13
       documents representing Yuga Labs and Mr. Lehman’s settlement negotiations
  14
       warrant their own discussion. This Court has acknowledged that settlement
  15
       negotiations incorporate significant puffery; parties make concessions not because
  16
       they reflect their actual belief but rather, they flow from a party’s desire to avoid
  17
       further litigation. See Wang Lab. Inc. v. Mitsubishi Elect. America Inc., 860 F.
  18
       Supp. 1448, 1452 (C.D. Cal. 1993). Therefore, any apparent inconsistencies arising
  19
       from settlement negotiations would not demonstrate a lack of credibility, but would
  20
       instead reflect the distinct set of circumstances under which the statements were
  21
       made. Indeed, any party earnestly engaging in settlement negotiations is likely to
  22
       depart from their litigation positions. Therefore, not only are the settlement
  23
       negotiations irrelevant, but their production here would discourage Yuga Labs from
  24
       making the concessions necessary to settle this matter, the matter involving Mr.
  25
  26
      It is important to note that the Confidential Settlement Materials are not
       3
  27 admissible to prove or disprove any elements of the case. Rule 408 mandates that
     settlement materials are never admissible “either to prove or disprove the validity or
  28 amount of a disputed claim.” Fed. R. Evid. 408(a).
       STIPULATION REGARDING MOTION TO
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   1
       Hickman, or other trademark matters Yuga Labs is currently pursuing. 4 It would
   2
       also provide an unfair advantage to Defendants in any negotiations with Yuga Labs,
   3
       thus making it unlikely that the parties could ever negotiate a settlement where
   4
       Defendants had an unfair advantage.
   5
             Because Defendants come nowhere close to satisfying the burden they admit
   6
     is required, the inquiry ends here. Still, their motion is deficient for other reasons.
   7
                         b.     Defendants’ Cases Do Not Support Compelling
   8                            Production of the Confidential Settlement Materials
   9         Defendants’ cases, which generally concern patent disputes and the resulting
  10 licensing agreements, do not support their position. In Bd. of Trustees of Leland
  11 Stanford Junior Univ. v. Tyco Int’l LTD., 253 F.R.D. 521 (C.D. Cal. 2014), the
  12 Court found a heightened showing that a settlement agreement was relevant in
  13 discovery because the plaintiff alleged in the complaint that other defendants had
  14 “stipulated to the judgments of infringement, enforceability and validity” of the
  15 asserted patents. Id. at 522. The terms of plaintiff’s agreements themselves were
  16 therefore key evidence of a substantive element of the plaintiff’s claim. An
  17 equivalent scenario in a trademark infringement case would be, for example, a
  18 plaintiff claiming in its complaint that it obtained rights to the marks at issue
  19 through a confidential settlement with another party. Yuga Labs has done no such
  20 thing. The confidential settlement agreement with Mr. Lehman is not “at issue”, as
  21
  22
  23
  24
  25
      Indeed, even in those few cases where a court ordered production of a settlement
       4
  26 agreement, settlement negotiations are routinely protected. See, e.g., Sanofi-Aventis
     U.S. v. Genentech, Inc., No. CV 15–5685–GW (AGRx), 2016 WL 7444676, at *3
  27 (C.D. Cal. Mar. 30, 2016) (ordering production of settlement agreement but not
     accompanying negotiations); In re Mykey Tech., Inc. Patent Litig., No. CV 13-2461
  28 AG (PLAx), 2016 WL 6681178, at *3 (C.D. Cal. Mar. 17, 2016) (same).
       STIPULATION REGARDING MOTION TO
       COMPEL                                     15               CASE NO. 2:22-CV-04355-JFW-JEM
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   1
       Defendants assert. 5 The fact that Mr. Lehman’s declaration contains relevant facts
   2
       to this case in no way shows the terms of the settlement agreement prove Yuga
   3
       Labs’ claims.
   4
             In Fresenius v. Med. Care Holding Inc. v. Baxter Int’l Inc., 224 F.R.D. 644
   5
       (N.D. Cal. 2004), the Court only considered an overbreadth challenge, so that case
   6
       is inapposite to Defendants’ burden to make a heightened or particularized showing
   7
       of need for the Confidential Settlement Materials. Even so, the settlement
   8
       agreement ordered produced in that case included the terms of a licensing
   9
       agreement for the asserted patents that related to the claimed damages. There is not
  10
       even a suggestion here that the Confidential Settlement Materials include a license
  11
       agreement between the parties (and the Consent Judgment and resulting injunction,
  12
       Thomas Decl. Exhibit 1, plainly shows that is not the case, since Mr. Lehman is
  13
       prohibited from using Yuga Labs’ marks). In re Google Litig., No. C–08–03172
  14
       RMW (PSG), 2011 WL 5190831 (N.D. Cal. Oct. 31, 2011) is similarly inapposite;
  15
       though the court’s analysis is not clear since the defendant did not assert relevance
  16
       objections, the document production ordered there was “damages-related
  17
       discovery” — not sought to show bias or purportedly contradictory testimony. Id.
  18
       at *6. Indeed, the settlement with Mr. Lehman has no bearing on the claimed
  19
       damages in this case because Yuga Labs only sought Mr. Lehman’s own profits in
  20
       that case, which it is not seeking in this case.
  21
  22
       Though Defendants do not argue that this is a basis for their motion, there is also
       5
  23 no reason the Confidential Settlement Materials would be relevant for damages
     apportionment purposes. Even in cases where the settlement involves a patent
  24 licensing fee (which, again, is clearly not the case here), that argument fails. “It is a
     century-old rule that royalties paid to avoid litigation are not a reliable indicator of
  25 the value of” a party’s intellectual property. Wang Lab. Inc., 860 F. Supp. at 1452
     (C.D. Cal. 1993). Such payments are motivated not by a fair appraisal of their
  26 value, but rather “reflect the licensee’s desire to avoid the risk and exposure of
     litigation.” Id.; see also Rude v. Wescott, 130 U.S. 152, 164 (1889). Defendants
  27 have the burden to rebut this presumption, but they have made no attempt to do so.
     See Universal Elec., Inc. v. Universal Remote Control, Inc., No. SACV 12-00329
  28 AG (JPRx), 2014 WL 12586737, at *10 (C.D. Cal. Apr. 21, 2014).
       STIPULATION REGARDING MOTION TO
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   1
             The remainder of the cases string cited by Defendants similarly fail to
   2
       support their position. See Phoenix Solutions, Inc. v. Wells Fargo Bank, N.A., 254
   3
       F.R.D. 568 (N.D. Cal. 2008) (concerning “settlement privilege,” which is not the
   4
       law in the Ninth Circuit and which Yuga Labs has not asserted); In re Banc of
   5
       California Sec. Litig., No. SA CV 17-00118-AG (DFMx), 2018 WL 1726237 (C.D.
   6
       Cal. Apr. 6, 2018) (ordering production of an employment settlement agreement in
   7
       a securities litigation case, based on prior finding that the document was factually
   8
       relevant to an allegedly misleading statement in the company’s proxy statement
   9
     regarding employment history).
  10                      c.    Yuga Labs Will be Prejudiced if the Confidential
  11                            Settlement   Materials Are Produced
            The judicial policies favoring confidentiality of settlement agreements and
  12
     negotiations are especially important to enforce here. Defendants participated in a
  13
     “business venture” with Mr. Lehman and another third party, Ryan Hickman.
  14
     Lehman Decl. (ECF 108-9) at ¶ 3; Yuga Labs, Inc. v. Hickman, No. 2:23-cv-00111-
  15
     JCM-NJK (D. Nev.); see also ECF 62 (“In this case, the Court concludes that
  16
     Defendants’ use of the BAYC Marks does not constitute nominative fair use.
  17
     Defendants are not using the BAYC Marks to sell Plaintiff’s BAYC NFTs, but to
  18
     sell their own competing RR/BAYC NFTs.”) (emphasis added). Exposing
  19
     settlement communications to discovery in this case would chill other non-parties’
  20
     willingness to participate in the settlement process, and would inhibit Yuga Labs’
  21
     ability to effectively negotiate future settlements by unfairly exposing Yuga Labs’
  22
     negotiations and compromises in a case with similar facts. This would prejudice
  23
     settlement negotiations and deter all involved parties from openly and earnestly
  24
     approaching any efficient resolution. Defendants have provided no “particularized
  25
     and/or heightened showing” to warrant departing from this sound policy
  26
     encouraging candor and settlement.
  27
  28
       STIPULATION REGARDING MOTION TO
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   1
             The case Defendants cite for the proposition that a protective order mitigates
   2
       privacy concerns, see O’Brien v. Johnson & Johnson Med. Devices Co., No. ED
   3
       CV 19-619-CJC (SPx), 2020 WL 5215384 (C.D. Cal. June 24, 2020), has no
   4
       bearing on this issue, as the damage and chilling effects would result even if it were
   5
       only Defendants’ attorneys who were allowed to intrude upon the confidentiality of
   6
       settlement negotiations and make tactical use of that information in this litigation.
   7
       There will be a very real chilling effect on settlement discussions where one party
   8
       wants a confidential settlement provision, and negotiates for it, but knows that the
   9
       agreed upon confidentiality is hollow because the Court will order its production in
  10
       other litigation. Specifically, in this case, there is likely to be a freeze on settlement
  11
       discussions if Defendants are afforded an unfair tactical advantage to understand
  12
       how Yuga Labs negotiated its settlement with Mr. Lehman. Allowing discovery of
  13
       the confidential settlement agreement and negotiations will prejudice settlement
  14
       negotiations and deter all involved parties from candidly and earnestly approaching
  15
     any efficient resolution.
  16
                         d.    If the Court Is Inclined to Order the Production of the
  17                           Settlement Agreement, It Should Examine the
                               Settlement Agreement In Camera First
  18
  19         While Defendants guess that settlement negotiations may reveal some
  20 unspecified credibility issue, they tacitly admit that the Confidential Settlement
  21 Materials themselves are not relevant to any claim or defense. These materials are
  22 also undisputedly inadmissible under Fed. R. Evid. 408 for such purposes.
  23         Though Yuga Labs maintains that Defendant have not satisfied their burden,
  24 should the Court find the record inadequate to deny Defendants’ motion, Yuga Labs
  25 respectfully asks the Court to conduct an in camera review of the settlement
  26 agreement between Yuga Labs and Mr. Lehman and determine whether the contents
  27 are sufficiently necessary to the claims at issue in this litigation to warrant the
  28
       STIPULATION REGARDING MOTION TO
       COMPEL                                       18               CASE NO. 2:22-CV-04355-JFW-JEM
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   1
       extraordinary step of piercing the parties’ reasonably expected and bargained-for
   2
       confidentiality surrounding those negotiations and the agreement. See Big Baboon
   3
       Corp., 2010 WL 3955831, at *4 (“in recognition of the federal policy favoring
   4
       settlement agreements, this Court ordered Plaintiff to file a sealed copy of its
   5
       settlement agreement with Honda for in camera review to allow for a particularized
   6
       determination of its relevancy.”).
   7
             ***
   8
             Based on this case law and Defendants’ failure to show any legitimate need
   9
       for the Confidential Settlement Materials — much less a heightened or
  10
       particularized showing — the motion should be dismissed.
  11
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       STIPULATION REGARDING MOTION TO
       COMPEL                                      19              CASE NO. 2:22-CV-04355-JFW-JEM
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   1
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   2
       Dated: March 6, 2023
   3
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  26
  27
  28
       STIPULATION REGARDING MOTION TO
       COMPEL                               20               CASE NO. 2:22-CV-04355-JFW-JEM
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   1
                     ATTESTATION OF CONCURRENCE IN FILING
   2
             Pursuant to the United States District Court for the Central District of
   3
       California’s Civil L.R. 5-4.3.4(a)(2)(i), Derek Gosma attests that concurrence in the
   4
       filing of this document has been obtained from Ethan Thomas.
   5
   6
       Dated: March 6, 2023                            /s/ Derek Gosma
   7
                                                       Derek Gosma
   8
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       STIPULATION REGARDING MOTION TO
       COMPEL                                     21               CASE NO. 2:22-CV-04355-JFW-JEM
